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FILED
APR 30 2025

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
v. ) caseno. 4 * 75 CR 00]
) Title 18, United States Code, Sections
CHRISTOPHER HELMICK, J 2252(a)(2) and 2252A(a)(5)(B)
thy & ay F ff y
Defendant. Tyee Ri Wik ,
2 HIDGE BOVKO

(Receipt and Distribution of Visual Depictions of Real Minors Engaged in Sexually Explicit
Conduct, 18 U.S.C. § 2252(a)(2))
The Grand Jury charges:

l. From on or about March 21, 2024 to on or about July 17, 2024, in the Northern
District of Ohio, Eastern Division, and elsewhere, Defendant CHRISTOPHER HELMICK did
knowingly receive and distribute, using any means and facility of interstate and foreign
commerce, numerous computer files, which files contained visual depictions of real minors .
engaged in sexually explicit conduct, and which files had been shipped and transported in and
affecting interstate and foreign commerce, as defined in Title 18, United States Code, Section

2256(2), in violation of Title 18, United States Code, Section 2252(a}(2).

COUNT 2
(Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B))

The Grand Jury further charges:
2. On or about July 17, 2024, in the Northern District of Ohio, Eastern Division, Defendant

CHRISTOPHER HELMICK did knowingly possess a Apple iPhone, Hitachi hard disk drive,
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EasyStore portable hard drive, Toshiba portable hard drive, HGST hard disk drive, and HP
laptop that contained child pornography as defined in Title 18, United States Code, Section
2256(8), which child pornography had been shipped and transported in interstate and foreign
commerce by any means, including by computer, and which was produced using materials which
had been shipped and transported in interstate and foreign commerce by any means, including by
computer, and at least one image involved in the offense involved a prepubescent minor or a
minor who had not attained twelve (12) years of age, in violation of Title 18, United States Code,

Section 2252A(ay(5)(B).

A TRUE BILL,

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
